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Exhibit B

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP. ef ai.,' Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Name See ee ee ee eee”

STIPULATION AND AGREED ORDER
REGARDING A PROTOCOL FOR CERTAIN CASE MATTERS

The above-captioned debtors and debtors in possession (collectively, the “Debtors”),
certain of the Debtors’ creditors and other constituents as specified in the signature pages of this

stipulation and agreed order (this “Stipulation and Order”) hereby enter into this Stipulation and

Order, and stipulate and agree as follows.
Recitals

WHEREAS, the Debtors filed applications to retain (the ‘Retention Applications”) the

following professionals tn their chapter 1! cases: Filsinger Energy Partners [D.1. 650]; Evercore
Group L.L.C. [D.I. 651]; KPMG LLP [D.[. 652]; Thompson & Knight LLP [D.I. 653];
PricewaterhouseCoopers LLP [D.1. 654]; Ernst & Young LLP [D.I. 655]; Deloitte & Touche LLP
[D.L. 656]; Richards, Layton & Finger, P.A. [DL 659]; Kirkland & Ellis LLP [D.I. 660]; Alvarez
& Marsal North America, LLC [D.I. 661]; Gibson, Dunn & Crutcher LLP [D.I. 662]; Epig
Bankruptcy Solutions, LLC [D.I. 663]; McDermott Will & Emery LLP [D.1. 664]; and Sidley

Austin LLP [D.1. 665] (collectively, the “Retained Professionals”);

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810, The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201, Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may
be obtained on the website of the debtors’ claims and noticing agent at http://www.ethcaseinfo.com,

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WHEREAS, on July 23, 2014, the Debtors filed a motion to extend their exclusive periods

to file and solicit votes on a plan of reorganization [D.I. 1683] (the “Exclusivity Motion”);

WHEREAS, the parties to this Stipulation and Order (the “Parties”} engaged in
negotiations in connection with the relief requested in certain of the Retention Applications and
the Exclusivity Motion;

WHEREAS, the Parties have agreed to the terms of this Stipulation and Order to resolve
any potential objections to the Exclusivity Motion and Retention Applications;

NOW, THEREFORE, it is hereby stipulated and agreed to by and among the Parties and
upon Bankruptcy Court approval hereof, it shall be ordered as follows:

l. This Stipulation and Order is intended to bind and inure to the benefit of the Parties,
as well as the undersigned counsel and any group presently or later identified in a statement filed
under Bankruptcy Rule 2019 as being represented by the undersigned counsel. The rights or
obligations of the Parties under this Stipulation and Order may not be assigned, delegated, or
transferred to any other person or entity.

2. The Debtors will provide the Ad Hoc TCEH Noteholder Group (the “TCEH

Noteholder Group”), the Official Committee of Unsecured Creditors (the “Committee”), and

Wilmington Savings Fund Society FSB (“WSFS,” and, together with the TCEH Noteholder Group

and the Committee, the “TCEH Creditor Representatives”) with reasonable (but no less than 10

days’) notice when they intend to file with the Bankruptcy Court an initial plan of reorganization
or any other pleading, motion, or notice (together with a copy of the draft of such initial plan,
pleading, motion, or notice) that seeks to settle, resolve, modify, or otherwise treat material
potential claims or causes of action of EFCH and/or any of its direct or indirect subsidiaries

(collectively, the “TCEH Debtors”), including, but not limited to, inter-debtor issues, rights,

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claims, or defenses (the “Notice Matters”); and (b) any subsequent plan, pleading, motion, or
notice that materially modtfies the initial treatment of any Notice Matter (together with a draft of
such subsequent plan, pleading, motion, or notice), unless such subsequent plan, pleading, motion,
or notice is filed on or after the date that is 14 days prior to the commencement of a hearing on
confirmation of a plan, in which case, the Debtors shall provide as much notice as is reasonably
practicable.

3. The Debtors will meet with the TCEH Creditor Representatives in person or
telephonically at a mutually convenient time no less than once every two weeks, or as otherwise
reasonably practicable for the parties, to update the TCEH Creditor Representatives on the chapter
11 cases, including, but not limited, with respect to the Notice Matters.

4, The independent directors of each of EFTH, EFCH and TCEH, and EFH,

respectively (each, an “Independent Director’), are authorized te seck to retain separate advisors

of his or her choosing (each, an “Independent, Advisor”) to advise or otherwise represent the

applicable Debtor (a) if he or she determines it is necessary or prudent to do so with respect to any
Notice Matter, (b) where he or she, or the Court on motion by any of the TCEH Creditor
Representatives determines that a potential conflict has become an actual conflict under applicable
law, or (c) if the Court, on its own accord, otherwise determines that the retention of Independent

Advisors is appropriate (collectively, the “Independent Matters”); provided, however, that unless

otherwise determined by such Independent Director or the Court on motion by any TCEH Creditor
Representative, the applicable Retained Professional may also continue to advise or represent such
Debtor regarding the Independent Matters, including, but not limited to, in connection with respect
to with any settlement of Independent Matters; provided further, however, that the Retained

Professionals may not represent a Debtor in litigation directly adverse to another Debtor. The

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Independent Directors of EFCH and TCEH shali consult with the TCEH Creditor Representatives

regarding the selection of Independent Advisors._The retention of any Independent Advisor

hall j o court approval pursuant to the Bankruptcy Code, the Bankruptcy Rules

arties’ richts are reseryed with

5, The entry of this Stipulation and Order is without prejudice to the rights, objections,

claims, defenses, and remedies any party may have with respect to the impact alleged conflicts of
interest may have on any action or inaction of any or all of the Debtors, including, but not limited
to, to seek a determination that such action or inaction is not entitled to the protection of the
business judgment rule and is instead subject to review under the entire fairness standard.
Notwithstanding anything to the contrary herein, the TCEH Creditor Representatives hereby
waive any potential objection(s) to the Debtors’ proposed retention of professionals on any
grounds, including, but not limited to, alleged conflicts, and hereby waive any potential arguments
alleging conflicts in the context of the Debtors’ professionals’ applications for payment of fees and
expenses; provided, however, that all parties’ rights are reserved with respect to potential
disqualification of retained professionals for actions taken after the date hereof.

6. The Debtors and K&E will facilitate the TCEH Creditors Representatives’
diligence of the rights and potential claims, causes of action, and defenses of the TCEH Debtors
against or with respect to other Debtors (including, but not limited to, with respect to tax matters

and the allocation of administrative costs and overhead), insiders, the sponsors, and third parties.

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7. If a TCEH Creditor Representative files a motion requesting standing to prosecute

material claims or causes of action of the TCEH Debtors (a “Standing Motion”), the Debtors agree

not to obtain court approval to settle, resolve, modify, or otherwise treat such material claims or
causes of action until the Standing Motion has been decided by the Court or otherwise resolved;
provided, however, that the Debtors reserve all rights with respect to such Standing Motion,
including, but not limited to, the ability to object to such Standing Motion or to file a plan of
reorganization or any other pleading, motion, or notice that seeks to settle, resolve, modify, or
otherwise treat material claims or causes of action.

8. Each TCEH Creditor Representative must (a) disclose in writing to the Debtors any
material claims and causes of action for which it intends to request standing in a Standing Motion
by January 31, 2015, and (b) file its respective Standing Motion by the later of (i} February 28,
2015, Gi) fifteen days after approval of a disclosure statement, and (iii) such later date as mutually
agreed to by the Debtors and the applicable TCEH Creditor Representative; provided, however,
that the TCEH Creditor Representatives reserve the right to seek one or more orders extending
such deadlines for cause shown, including the failure of the Debtor or K&E to fulfill their
obligations under paragraph (6) above or the 2004 Discovery Protocol. To the extent that it fails to
disclose or seek standing to assert a particular claim or cause of action by the applicable deadline
(as it may be extended pursuant to the prior sentence), each TCEH Creditor Representative is

deemed to have waived any right to seek standing to assert that claim or cause of action; provided

tiher, hawever, that nothing herein shall amend, modify or supersede the deadlines and

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Company LLC and Certain of its Debtor Affiliates, (B) Granting Adequate Protection, and (C)

Modifving the Automutic D, 1. 855].
9. The TCEH Noteholder Group arid-the-cemipHies-cach-sereeagrees not to seek, or
support any other another party in seeking, either directly or indirectly, an examiner or trustee for

any acts or omissions of the Debtors that occurred prior to the entry of this order:preridest

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the Commities's fiduciary duties,

10. The TCEH Creditor Representatives agree to support the Debtors’ request to
extend their exclusive periods to file and solicit acceptance of a plan of reorganization through
February 23, 2015, and April 25, 2015, respectively.

Il. This Stipulation and Order does not restrict or expand the rights of any party
regarding the role of management or any director of the Debtors,

12. The provisions of this Stipulation and Order constitute an order of this Court and
violations of the provisions of this Stipulation and Order are subject to enforcement and the
imposition of legal sanctions in the same manner as any other order of the Court.

[Signatures follow.]

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Stipulated and agreed by:

ENERGY FUTURE HOLDINGS, CORP., ET AL, DEBTORS AND
DEBTORS-IN-POSSESSION

By:

/s/ William A. Romanowicz

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Proposed Co-Counsel to the Debtors and Debtors in Possession

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THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS OF ENERGY FUTURE
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Proposed Co-Counsel to the Official Committee of Unsecured Creditors

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WILMINGTON SAVINGS FUND SOCIETY, FSB, IN ITS CAPACITY AS SUCCESSOR
INDENTURE TRUSTEE

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Indenture Trustee

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THE AD HOC GROUP OF TCEH UNSECURED NOTEHOLDERS

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Counsel to the Ad Hoc Group of TCEH Unsecured Noteholders

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Dated: , 2014 SO ORDERED:

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge

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Order Regarding a Protocol for Certain Case Matters [Filed]

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